JOSEPH A. GREGORIO

Attorney and Counselor at Law

 

1100 Benton Road
Bossier City, Louisiana 71111-3608
Telephone: 318-747-0384
Facsimile: 318-746-5222

June 26, 2019

Natural State Carriers
Mr. Jim Thompson
135 Johnston Road

Searcy, AR 72143
CERTIFIED MAIL - 7018 0360 0002 2365 0249
RETURN RECEIPT REQUESTED

Re: Suzanne White v Melvin Brown, et al
1* JDC Docket #617-387-B
Caddo Parish, Louisiana

Dear Mr. Thompson:

Enclosed herewith please find a certified copy of the Petition For Damages, Request For
Admissions, Interrogatories and Request for Production of Documents propounded to each of
the named defendants, and Citation filed in the above captioned lawsuit. These documents are
being served upon you by United States Certified Mail with Return Receipt Requested pursuant
to LAS-R.S. 13:3201, et. seq.

Please be advised that you have thirty (30) days from your receipt of these documents in
which to respond to said pleadings. Failure to do so within that time will result in a default

judgment being entered against you.

Thank you for your time and attention in this matter.

Sincerely
xe LUO
Joseph A. Gregori
Attorney at Law
JAG/ed

enclosure
sandyr CPCC.CV.1251149

a Long -Arm Citation

SUZANNE WHITE NO. 617387 -B
NS STATE OF LOUISIANA
MELVIN BROWN, ET AL PARISH OF CADDO

FIRST JUDICIAL DISTRICT COURT
THE STATE OF LOUISIANA, TO: NATURAL STATE CARRIERS INC

YOU HAVE BEEN SUED.
Attached to this Citation is a certified copy of the Petition.* The petition tells you what you are being sued

for.

You must EITHER do what the petition asks, OR, within THIRTY (30) days after you have received these
documents, you must file an answer or other legal pleadings in the Office of the Clerk of this Court at the
Caddo Parish Court House, 501 Texas Street, Room 103, Shreveport, Louisiana.

If you do not do what the petition asks, or if you do not file an answer or legal pleading within THIRTY
(30) days, a judgment may be entered against you without further notice.

This Citation was issued by the Clerk of Court for Caddo Parish, on this date June 24, 2019.

 

 

 

 

 

 

 

 

 

 

 

*Also attached are the following: MIKE SPENCE, CLERK OF COURT
XX REQUEST FOR ADMISSIONS OF FACTS
XX INTERROGATORIES Ye yf
XX REQUEST FOR PRODUCTION OF DOCUMENTS _ By: CEG
Deputy Clerk
JOSEPH GREGORIO
Attorney
SERVICE INFORMATION: Date
Personal Domiciliary to
Unserved because
Remarks
Deputy Sheriff

ION A
sandyr CPCC.CV.1251149

Long -Arm Citation

SUZANNE WHITE NO. 617387 —B
VS STATE OF LOUISIANA
MELVIN BROWN, ET AL PARISH OF CADDO

FIRST JUDICIAL DISTRICT COURT
THE STATE OF LOUISIANA, TO: | NATURAL STATE CARRIERS INC

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XX REQUEST FOR ADMISSIONS OF FACTS

XX_ INTERROGATORIES by Lf
XX__ REQUEST FOR PRODUCTION OF DOCUMENTS By: , Le

Bersaty Clerk

 

 

 

JOSEPH GREGORIO
Attorney

A TRUE COPY - - ATTEST

Deputy Clerk

These documents mean you have been sued. Legal assistance is advisable, and you should contact a lawyer
immediately. If you cannot find a lawyer, please go to www.shreveportbar.com and click on the Lawyer
Referral Service link, or go to the Shreveport Bar Center on the third Monday of each month from 5:30 -
7:30 for a free seminar. If eligible, you may be entitled to legal assistance at no cost to you through Legal
Services of North Louisiana, Inc. Please call 222-7281 formoreinformation.

If you are a person with a disability, please contact the Clerk of Court's office for information regarding
accommodation and assistance.

SERVICE COPY

 
SUZANNE WHITE DOCKET NO. ¢ ol | ‘ BQ] 6

VERSUS | Ist JUDICIAL DISTRICT COURT

MELVIN BROWN, GERALD GOLDSBY,
NATURAL STATE CARRIERS and CADDO PARISH, LOUISIANA
NORTHLAND INSURANCE COMPANY

ASSIGNMENT: SECTION JUDGE .

PETITION FOR DAMAGES
The petition of SUZANNE WHITE, person of lawful age, individually, resident of and domiciled
in the State of Louisiana, who upon information and belief, respectfully represents that:
1.
Made defendants herein are:
1, MELVIN BROWN a person of the full age of majority and domiciled in the State of Arkansas who
may be served through the Louisiana Long arm Statute at his address of 2206 Coors Drive, N Little
Rock, AR 72118 and through Louisiana Secretary Of State, 8585 Archives Ave., Baton Rouge, LA
70809
2, GERALD GOLDSBY a person of the full age of majority and domiciled in the State of Texas who
may be served through the Louisiana Long arm Statute at his address of 393 Creekwood Drive,
Lancaster, TX 75146 and through Louisiana Secretary Of State, 8585 Archives Ave., Baton Rouge,
LA 70809
3. NATURAL STATE CARRIERS, INC. who upon information and belief is a foreign corporation
authorized to do and doing business in the State of Louisiana, who at all material times herein was
the employer of MELVIN BROWN and which may be served through the Louisiana Long Arm
Statute, through the owner Jim Thompson, at their mailing address of 135 Johnston Road, Searcy,
AR 72143 and through Louisiana Secretary Of State, 8585 Archives Ave., Baton Rouge, LA 70809
4, NORTHLAND INSURANCE COMPANY, who upon information and belief is a domestic
insurance corporation, authorized to do and doing business in the State of Louisiana, who at all
material times herein was the liability insurer of MELVIN BROWN, GERALD GOLDSBY and
NATURAL STATE CARRIERS which may be served through the agent of service, Louisiana
Secretary Of State, 8585 Archives Ave., Baton Rouge, LA 70809
2.
Said defendants are indebted jointly, severally, and in solido unto your petitioner, SUZANNE
WHITE in an amount of damages reasonably calculated to adequately compensate her for the injuries and
damages sustained in an automobile collision that occurred on or about November 16, 2018 at approximately
6:40am, at the intersection of Market Street and Stoner Avenue in Shreveport, Caddo Parish, Louisiana, all
of which is more particular plead and described hereinafter; together with legal interest from the date of
judicial demand until paid and for costs of these proceedings.
3.
On or about November 16, 2018 at approximately 6:40am, SUZANNE WHITE, was the driver of

a 2016 Nissan Altima, LA license plate 212BQY, obeying all local, state, and federal traffic laws.

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4.
At the time of the accident, the weather was clear, the roadway was dry and it was daylight.
NEGLIGENCE ALLEGATIONS AS TO MELVIN BROWN
5.
On or about November 16, 2018 at approximately 6:40am, MELVIN BROWN was operating a 2003
Freightliner Tractor Truck, TX license plate R277437 with 2014 Wabash Box Van, MA license 394616Z,
owned by GERALD GOLDSBY, attempting to turn from Market Street onto Stoner Avenue in Shreveport,

Louisiana.

6.

MELVIN BROWN was operating the 2003 Freightliner Tractor Truck, TX license plate R277437
with 2014 Wabash Box Van, MA license 394616Z, failed to maintain proper lookout, and turned from the
wrong lane thereby causing a collision with SUZANNE WHITE’S vehicle, causing severe personal injury
and vehicle damage.

7.

At all times material herein, MELVIN BROWN, was in the employ of GERALD GOLDSBY
and/or NATURAL STATE CARRIERS, and was in the course and scope of that employment at the time
of the accident which is the basis for this action.

8.

The petitioner shows that defendant, MELVIN BROWN, is responsible and strictly liable to the
petitioner for the damages suffered, and was the cause of the aforesaid accident and damages and as such the
liability policy ofp MELVIN BROWN, GERALD GOLDSBY and/or NATURAL STATE CARRIERS
with NORTHLAND INSURANCE COMPANY covered MELVIN BROWN.

9,

MELVIN BROWN operated the above-mentioned automobile, as such the liability policy of
MELVIN BROWN, GERALD GOLDSBY and/or NATURAL STATE CARRIERS with
NORTHLAND INSURANCE COMPANY covered MELVIN BROWN.

10.

Said accident and resultant injuries and losses suffered by the petitioner, SUZANNE WHITE, were

due proximately to the actions and omissions of negligence, carelessness, fault and recklessness of MELVIN

BROWN, while in the course and scope of his employment, which may be imputed to his employer,

NATURAL STATE CARRIERS:
A) Reckless and careless operation of his vehicle;
B) Failure to maintain a proper lookout;

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C) Failure to properly apply brakes on his automobile so as to avoid and/or prevent it from
colliding with other vehicles;
D) Improper lane usage;

E) In being inattentive and not doing what he should have done or seeing what he should have
seen in order to avoid the accident;

G) Negligence per se by violating state and municipal traffic laws;

H) Other acts or omissions which shall be more fully developed at the trial on this matter.

SUZANNE WHITE’S DAMAGES
Li,

As the proximate result of the negligence of the defendants mentioned hereinabove, petitioner,
SUZANNE WHITE, sustained personal injuries, continuing physical and emotional and psychological
injuries due to the accident as can best be described by the petitioner’s treating physicians, and vehicle
damage.

12.

SUZANNE WHITE has suffered from several injuries including but not limited to neck pain and
spinal compression fracture, along with general discomfort, mental anguish and distress to date all of which
will continue for an indefinite period of time and which have resulted in hospital, medical and other related
expenses, all of which will likewise continue into the future for an indefinite period of time.

3.
The petitioner specifically pleads the following damages:
A) Past medical expenses;
B) Future medical expenses;
C) Past and future physical pain and suffering;
D) Past and future mental pain and anguish;
E) Loss of enjoyment of life;
F) Past and future Lost Wages
G) Loss of earning capacity;
ADDITIONAL ALLEGATIONS
14,

The petitioner avers that it will be necessary to employ experts herein, including medical experts,
to testify at the trial of this matter and as such a result, the expert witness’ fees should be taxed as costs and
defendants should be condemned to pay same along with all other costs.

15.

Upon information and belief, at all times mentioned, NORTHLAND INSURANCE COMPANY
was the liability insurer of MELVIN BROWN, GERALD GOLDSBY and/or NATURAL STATE
CARRIERS and had issued a public liability policy which is believed to be insuring losses, darnages and
injuries of the nature and situation those hereinafter described and viet sued on, and that by virtue of the

existence of said policy, which was in full force and effect, the petitioner has a right of direct action against

NORTHLAND INSURANCE COMPANY.

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16.

Pursuant to the Louisiana Code of Civil Procedure, an order should be issued herein directed to the
defendants, MELVIN BROWN, GERALD GOLDSBY, NATURAL STATE CARRIERS, and
NORTHLAND INSURANCE COMPANY, ordering each to produce and make available to the petitioner
the original or a certified copy of any and all insurance policies, including all attachments, endorsements and
excess policies, which provided coverage for the injuries and damages sustained by petitioner as a result of
the above described accident.

17.

The defendants have in their possession the following documents which are necessary and material
to the intelligent preparation of petitioners’ case and same should be filed and produced into Court for
inspection and/or copying by petitioners at the earliest practical date. By them and evidence derived
therefrom, petitioners will prove the allegations set fourth in this petition. Said documents are:

A) Statements taken from SUZANNE WHITE;

B) Photographs taken of the vehicles involved;

C) Photographs taken at the scene of the accident; and,

D) Any policies of public liability or property damage insurance covering this accident.

18.

And now, pleading in the alternative and only in the alternative, if this Honorable Court should hold
and find that the petitioner, SUZANNE WHITE, was negligent, then and in that event, petitioner shows that
the defendants are liable to petitioners, in solido, in the amount to be in proportion to the degree or
percentage of negligence or fault attributable to each part as provided under the comparative Negligence
Laws of the State of Louisiana.

19.

The petitioner attaches certain interrogatories, request for production of documents and request for
admissions to each defendant’s service copy of this original Petition, which defendants are to answer in
writing, under oath, within the time delays provided by law and to provide copies of their answers to the
petitioners’ attorney.

20,

The petitioners allege amicable demand without avail.

WHEREFORE, Petitioner respectfully prays that this petition be filed into the record and made part
thereof, that defendants, MELVIN BROWN, GERALD GOLDSBY, NATURAL STATE CARRIERS,
and NORTHLAND INSURANCE COMPANY, be served with a copy of their petition and duly cited to

appear and answer same, and that after all legal delays and due proceedings are had, there be judgment

Page 4 of 7

 
rendered in favor of petitioner, SUZANNE WHITE, and against the defendants herein for the following:
(1) such damages as are reasonable, with legal interest from date of judicial demand; (2) that defendants be
directed to answer the attached interrogatories, request for production of documents and request for
admissions; (3) that expert witness fees be fixed and taxed as costs; and, (4) any and all relief, general and
equitable, to which petitioner may be entitled, and (5) trial by jury.

SUZANNE WHITE, FURTHER PRAYS, that defendants be directed to produce and file into
Court, within the delays allowed by law for pleading to this petition, the following documents:

A) Statements taken from SUZANNE WHITE;

B) Photographs taken of the vehicles involved;

C) Photographs taken at the scene of the accident; and,

D) Any policies of public liability or property damage insurance covering this accident.

SUZANNE WHITE, FURTHER PRAYS that an order issue herein, directed to the defendants,

\
ordering them to produce and make available to the petitioners the original or a certified copy of any and all

  
     

insurance policies, including all attachments, endorsements and excess policies, which provided coverage
for the injuries and damages sustained by petitioner as a result of\the above described accident.

espoctfully submitted:

 

Telephone (318) 747-0384
Telecopier Nw.j (318) 746-5222
LA Bar Roll No. 22,191

ATTORNEY FOR PLAINTIFF

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PLEASE PERSONALLY SERVE:

1.

MELVIN BROWN

through the Louisiana Long arm Statute
2206 Coors Drive

N Little Rock, AR 72118

MELVIN BROWN

through Louisiana Secretary Of State
8585 Archives Ave.

Baton Rouge, LA 70809

PERSONAL SERVICE ONLY is to be made on the above named agent for service of process as per
La. C.C.P, Article 1261.

3.

GERALD GOLDSBY

through the Louisiana Long arm Statute
393 Creekwood Drive

Lancaster, TX 75146 and through

GERALD GOLDSBY

through Louisiana Secretary Of State
8585 Archives Ave.

Baton Rouge, LA 70809

PERSONAL SERVICE ONLY is to be made on the above named agent for service of process as per
La. C.C.P. Article 1261.

5.

NATURAL STATE CARRIERS, INC.
through the Louisiana Long Arm Statute
through the owner Jim Thompson

135 Johnston Road

Searcy, AR 72143

NATURAL STATE CARRIERS
through Louisiana Secretary Of State
8585 Archives Ave.

Baton Rouge, LA 70809

PERSONAL SERVICE ONLY is to be made on the above named agent for service of process as per
La. C.C.P. Article 1261.

7.

NORTHLAND INSURANCE COMPANY
through the agent of service

Louisiana Secretary Of State

8585 Archives Ave.

Baton Rouge, LA 70809

PERSONAL SERVICE ONLY is to be made on the above named agent for service of process as per
La. C.C.P. Article 1261.

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SUZANNE WHITE DOCKET NO.

VERSUS 1st JUDICIAL DISTRICT COURT
MELVIN BROWN, GERALD GOLDSBY,

NATURAL STATE CARRIERS and CADDO PARISH, LOUISIANA
NORTHLAND INSURANCE COMPANY

ASSIGNMENT: SECTION JUDGE

ORDER

THE FOREGOING PETITION CONSIDERED:

IT IS ORDERED that defendants, MELVIN BROWN, GERALD GOLDSBY, NATURAL
STATE CARRIERS, and NORTHLAND INSURANCE COMPANY be served with a copy of their
petition and duly cited to appear and answer same;

IT IS FURTHER ORDERED that defendants be directed to answer the attached interrogatories,
request for production of documents and request for admissions within the time delays provided by law;

IT IS ORDERED THAT defendants be directed to produce and file into Court, within the delays
allowed by law for pleading to this petition, the following documents:

A) Statements taken from SUZANNE WHITE;

B) Photographs and video taken of the vehicles involved;

C) Photographs and video taken at the scene of the accident; and,

D) Any policies of public liability or property damage insurance covering this accident.

IT IS FURTHER ORDERED that the defendants, MELVIN BROWN, GERALD GOLDSBY,
NATURAL STATE CARRIERS, and NORTHLAND INSURANCE COMPANY produce and make
available to petitioners the original or a certified copy of any and all insurance policies, including all
attachments, endorsements and excess policies, which provided coverage for the injuries and damages
sustained by petitioners as a result of the accident described in the foregoing petition.

THUS DONE AND SIGNED in Shreveport, Caddo Parish, Louisiana, on this La of

WL » 2019.

JUDGE CRAIG MARCOTTE

 

JUDGE

 

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